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  9                       UNITED STATES DISTRICT COURT
 10                     CENTRAL DISTRICT OF CALIFORNIA
 11

 12   PLAYBOY ENTERTAINMENT                Case No. 2:17-cv-08140-FMO-PLA
      GROUP, INC., a Delaware corporation, Hon. Fernando M. Olguin Presiding
 13
      Plaintiff,                                 PLAINTIFF’S OPPOSITION TO
 14
                                                 DEFENDANTS’ MOTION TO
 15   v.                                         DISMISS
 16
      HAPPY MUTANTS, LLC, a Delaware Date: February 15, 2018
 17   limited liability company; and DOES 1 Time: 10:00 a.m.
      through 10,                           Location: Courtroom 6D – 1st Street
 18

 19   Defendants.
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  1   I.    INTRODUCTION
  2         In 2007 the Ninth Circuit decided Perfect 10, Inc. v. Amazon.com, Inc. et
  3   al., 508 F.3d 1146 (9th Cir. 2007) (“Perfect 10”), a case about nothing more and
  4   nothing less than “a copyright owner’s efforts to stop [Google’s] search engine from
  5   facilitating access to infringing images.” Id. There was no assertion in that case that
  6   Google had in any way caused or facilitated the posting of the infringing images, or
  7   that it had done anything more than link users to those infringing images. In a well-
  8   reasoned opinion that has remained the law of at least this Circuit since, the Court
  9   held that “Google could be held contributorily liable if it had knowledge that
 10   infringing Perfect 10 images were available using its search engine, could take simple
 11   measures to prevent further damage to Perfect 10’s copyrighted works, and failed to
 12   take such steps.” 508 F.3d at 1172.1
 13         Despite the above authority, Happy Mutants, LLC (“Happy Mutants”)
 14   apparently believes that it cannot be held liable under copyright law for actively
 15   promoting infringing content despite (1) having every reason to know that it was
 16   linking to infringing content, (2) having been able to take simple measures to prevent
 17   further damage to Playboy’s copyrighted works, and (3) having failed to take any
 18   such steps. Happy Mutants is wrong.
 19         This is an important case. At issue is whether clickbait sites like Happy
 20   Mutants’ Boing Boing weblog—a site designed to attract viewers and encourage
 21   them to click on links in order to generate advertising revenue—can knowingly find,
 22   promote, and profit from infringing content with impunity. While such sites may be
 23   within their rights to profit from the creative efforts of others, 2 courts both
 24

 25
      1
 26     Since factual disputes relevant to that determination had not been resolved by the
      district court, the case was remanded so the necessary findings could be made. Id.
 27   2
        Clickbait sites like Boing Boing are not known for creating original content. Rather,
 28   their business model is based on “collecting” interesting content created by others. As
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  1   domestically and abroad 1 have made clear that knowingly linking to infringing
  2   materials is a different story. Nevertheless, Happy Mutant, supported by the
  3   Electronic Frontier Foundation,2 is urging this Court to ignore that authority so that
  4   online sites are free to not only encourage, facilitate, and induce infringement, but to
  5   profit from those harmful activities.
  6         Happy Mutants knowingly connected its website to third party sites loaded
  7   with unlawful copies of Playboy’s works. Its only goal in doing so was to exploit and
  8   monetize the web traffic that over fifty years of Playboy photographs would generate.
  9   Given these facts, it is properly charged with liability for copyright infringement and
 10   this motion must be denied.
 11   II.   ARGUMENT
 12         A. Factual Background
 13         Playboy is a global brand built around a monthly magazine first published in
 14   1953. It is world renowned for not only its excellent writing and humor, but for its
 15   female models and centerfolds who have reflected, if not been part of setting, the
 16   changing standards of beauty in American society. In addition to its monthly
 17   magazine, Playboy monetizes its historical archives of Playboy Playmate images
 18

 19
      such, they effectively profit off the work of others without actually creating anything
 20   original themselves.
      1
        On September 8, 2016 the Court of Justice of the European Union (“CJEU”) issued
 21
      what has been hailed as a “landmark ruling” in GS Media BV v Sanoma Media
 22   Netherlands BV and Others (C-160/15), holding that hyperlinking to infringing
      content may properly be found to be infringing where (1) it is done for financial gain
 23
      and (2) the linking party knew or ought to have known that it was linking to
 24   infringing content. Thus, copyright protections in the EU effectively mirror the
      protections afforded under Perfect 10, Inc. v. Amazon.com, Inc. et al.
 25   2
        On the same day this motion was filed, Happy Mutants associated in as counsel of
 26   record two attorneys from the Electronic Frontier Foundation, a Silicon Valley
      “digital rights” group with a history of funding and otherwise supporting litigants in
 27
      their efforts to expand fair use and otherwise undermine copyright liability stemming
 28   from online activities.
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  1   through sales of other publications (including the book Playboy: The Compete
  2   Centerfolds, 1953-2016), DVDs and other recorded video formats, and on the
  3   subscription website PlayboyPlus.com. See FAC ¶ 17.
  4         As alleged in the FAC, Happy Mutants operates the clickbait site Boing Boing,
  5   a commercial weblog that professes to be a “directory of wonderful things.” The
  6   main purpose of Boing Boing’s content is to attract attention and encourage visitors
  7   to click on links. By increasing views and clicks, Happy Mutant increases the
  8   advertising revenues it can receive and thus the profitability of its site. See FAC ¶¶
  9   11-13.
 10         In February of 2016 the co-editor of Boing Boing posted a promotion for what
 11   was clearly an infringement of Playboy’s copyrights. Specifically, the post linked to
 12   an Imgur (www.imgur.com) page in which “[some] wonderful person uploaded scans
 13   of every Playboy Playmate centerfold…” and also to a separate video on YouTube
 14   “that contains all 746 of these incredible shots.” See FAC ¶¶ 14-15.
 15         This action followed.
 16         B. Legal Standard
 17         Motions to dismiss for failure to state a claim are disfavored and rarely
 18   granted. Hall v. City of Santa Barbara, 833 F.2d 1270, 1274 (9th Cir. 1986). 1 To
 19   survive such a motion, a complaint must contain merely a “short and plain statement
 20   of the claim showing that the pleader is entitled to relief.” Ashcroft v. Iqbal, 129 S.
 21   Ct. 1937 (2009). Detailed factual allegations are not required. Id. In deciding a
 22   motion to dismiss, all material allegations of the complaint are taken as true and all
 23   reasonable inferences are drawn in Plaintiff’s favor. Cahill v. Liberty Mut. Ins. Co.,
 24   80 F.3d 336, 338 (9th Cir. 1996).
 25
      1
 26     This Court’s Standing Order reiterates that bringing motions such as this are
      disfavored. “Rule 12(b)(6) motions are discouraged unless such motions will likely
 27
      result in dismissal, without leave to amend, of all or at least some of the claims under
 28   applicable law.” U.S.D.C. Dkt. No. 8, p. 3, para. 5(b).
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  1         C.      Playboy’s single claim for copyright infringement is well pled.
  2         Copyright infringement may be established through direct, vicarious, or
  3   contributory activity. With regard to contributory infringement, the Supreme Court
  4   has established the general rule that “[o]ne infringes contributorily by intentionally
  5   inducing or encouraging direct infringement,” Metro-Goldwyn-Mayer Studios Inc. v.
  6   Grokster, Ltd., 545 U.S. 913, 914, 125 S. Ct. 2764, 2767, 162 L. Ed. 2d 781 (2005)
  7   (“Grokster”) and has defined two categories of contributory liability: “Liability under
  8   our jurisprudence may be predicated on actively encouraging (or inducing)
  9   infringement through specific acts … or on distributing a product distributees use to
 10   infringe copyrights, if the product is not capable of ‘substantial’ or ‘commercially
 11   significant’ noninfringing uses.’” Id. at 942 (Ginsburg, J., concurring).
 12         In Perfect 10 the Ninth Circuit made clear that this circuit has “adopted the
 13   general rule [that] one who, with knowledge of the infringing activity, induces,
 14   causes or materially contributes to the infringing conduct of another, may be held
 15   liable as a ‘contributory’ infringer,’” Perfect 10, 508 F.3d at 1170 (quoting Gershwin
 16   Publishing Corp. v. Columbia Artists Management, Inc., 443 F.2d 1159, 1162 (2d
 17   Cir.1971)).
 18         In Perfect 10, the plaintiff sought to hold Google liable for facilitated the
 19   finding of infringing third party content. The Ninth Circuit explained that under the
 20   Gershwin Publishing test “Google could be held contributorily liable if it had
 21   knowledge that infringing Perfect 10 images were available using its search engine,
 22   could take simple measures to prevent further damage to Perfect 10’s copyrighted
 23   works, and failed to take such steps.” Perfect 10, 508 F.3d at 1172.
 24         1. Playboy has properly pled a claim for infringement by material
 25              contribution.
 26         Playboy has properly pled a claim for copyright infringement under the
 27   Gershwin Publishing test. Specifically, it has alleged that Happy Mutants (1) had
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  1   knowledge that infringing Playboy images were available through the links it
  2   provided, (2) could take simple measures to prevent further damage to Playboy’s
  3   copyrighted works, and (3) failed to take such steps.
  4         Defendant argues that it cannot be liable for contributory infringement
  5   because:
  6
                   [T]here is no allegation that Boing Boing had any
                   involvement whatsoever until after the materials had
  7                already been posted. Thus, based on the FAC itself, it is
  8
                   clear that Boing Boing did not materially contribute to
                   the uploader’s allegedly infringing acts.
  9
      (Dkt. 19-1, p. 11, at 6:12-15). But this argument is directly foreclosed by Perfect 10
 10
      in which the Ninth Circuit specifically held that the operator of a website could be
 11
      liable for linking to infringing content that had already been posted if it knew that it
 12
      was linking to infringing content and failed to take reasonable steps to avoid the
 13
      infringement.
 14
            Happy Mutant’s reliance on Perfect 10, Inc. v. Visa Int’l Serv. Ass’n, 494 F.3d
 15
      788, 797 (9th Cir. 2007) (“Visa”) is misplaced. In that case, the plaintiff sued
 16
      financial institutions that process credit card payments directed toward allegedly
 17
      infringing websites. But in holding that the credit card companies could not be held
 18
      liable for infringement, the Ninth Circuit found that they did not materially contribute
 19
      to the infringement because “the services provided by the credit card companies do
 20
      not help locate and are not used to distribute the infringing images.” Id. at 796.
 21
            Here, Happy Mutants expressly directed its viewers to two distinct locations
 22
      (Imgur and YouTube) where they could locate the infringing Playboy images. Rather
 23
      than affording Happy Mutants an avenue to escape liability for its infringing conduct,
 24
      Visa suggests that actions that “help locate ... [and] distribute the infringing images”
 25
      would indeed constitute infringement under the Ninth Circuit standard. Indeed, the
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  1   Ninth Circuit explicitly distinguished its holding in Visa from its holding in Perfect
  2   10,1 explaining:
  3
                   The salient distinction is that Google's search engine itself
  4                assists in the distribution of infringing content to Internet users,
  5
                   while Defendants' payment systems do not.
                   The Amazon.com court noted that "Google substantially assists
  6                websites to distribute their infringing copies to a worldwide
  7                market and assists a worldwide audience of users to access
                   infringing materials.” Defendants do not provide such a service.
  8
  9
      Visa, 494 F.3d at 797.
 10         And one year ago the Ninth Circuit again confirmed that “[i]n the online
 11   context… a ‘computer system operator’ is liable under a material contribution theory
 12   of infringement ‘if it has actual knowledge that specific infringing material is
 13   available using its system, and can take simple measures to prevent further damage to
 14   copyrighted works, yet continues to provide access to infringing works.’” Perfect 10,
 15   Inc. v. Giganews, Inc., 847 F.3d 657, 671 (9th Cir. 2017), cert. denied, 138 S. Ct. 504
 16   (affirming dismissal of contributory infringement claims re Usenet content offered
 17   through Giganews’s servers because “there were no simple measures available that
 18   Giganews failed to take to remove Perfect 10's works from its servers”).
 19         Based on the foregoing, Playboy has properly pled that Happy Mutant
 20   materially contributed 2 to the infringement, and thus may be contributorily liable for
 21   that infringement. Therefore, this motion should be denied.
 22

 23   1
        Specifically, that “Google could be held contributorily liable if it had knowledge
 24   that infringing Perfect 10 images were available using its search engine, could take
      simple measures to prevent further damage to Perfect 10’s copyrighted works, and
 25
      failed to take such steps.” Perfect 10, 487 F.3d at 729.
 26   2
        As discussed more fully below, “materially contributing” to an infringement is not
      the same thing as causing it and an existing infringement can subsequently be
 27
      contributed to by linking, through which a company like Happy Mutants could then
 28   tie itself to the infringement.
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   1         2. Playboy has properly pled a claim for infringement through inducement.
   2         In Grokster 545 U.S. 913, the Supreme Court applied the patent law concept of
   3   “inducement” to a claim of contributory infringement against a file-sharing program.
   4   The court found that “one who distributes a device with the object of promoting its
   5   use to infringe copyright, as shown by clear expression or other affirmative steps
   6   taken to foster infringement, is liable for the resulting acts of infringement by third
   7   parties.” Id. at 936-37. The Supreme Court summarized the “inducement” rule as
   8   follows:
   9
                    In sum, where an article is good for nothing else but
  10                infringement, there is no legitimate public interest in its
  11
                    unlicensed availability, and there is no injustice in presuming or
                    imputing an intent to infringe. Conversely, the doctrine
  12                absolves the equivocal conduct of selling an item with
  13                substantial lawful as well as unlawful uses, and limits liability
                    to instances of more acute fault than the mere understanding
  14                that some of one's products will be misused. It leaves breathing
  15                room for innovation and a vigorous commerce.

  16   545 U.S. at 932-33 (internal citations and quotations omitted).
  17         In this case, Happy Mutants’ offending link—which does nothing more than
  18   support infringing content—is good for nothing but promoting infringement and there
  19   is no legitimate public interest in its unlicensed availability.
  20         Happy Mutants’ argument that intentionally promoting a link to infringing
  21   material cannot result in liability “because the link [to the infringement] would…
  22   have both infringing uses and substantial non-infringing uses” (Dkt. 19-1, p. 16, ln.
  23   11:3) is baseless. There are no substantial non-infringing uses to the direct and
  24   intentional promotion of infringement.
  25         Moreover, it is clear that even substantial non-infringing uses would not
  26   immunize Happy Mutants in this case. Although Sony Corp. of America v. Universal
  27   City Studios, Inc., 464 U. S. 417 (1984) found that Sony could not be held liable for
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   1   infringement because its video tape recorders had substantial non-infringing uses, the
   2   Grokster decision held that the distributor of another such a product could be liable
   3   for infringement if there is evidence that the product is intended to encourage or
   4   support infringement. 545 U.S. at 934-35. The Supreme Court thus recognized that
   5   even where there are “substantial non-infringing uses,” liability may result where the
   6   defendant is encouraging infringement. And Happy Mutants cannot reasonably
   7   dispute that it was encouraging infringement through its post celebrating the
   8   “wonderful” persons who posted every Playboy Playmate ever.
   9         Happy Mutants appears to acknowledge that Playboy has sufficiently pled the
  10   first three elements for inducement liability. 1 But it argues that “Playboy does not and
  11   cannot show the fourth element: causation with respect to acts of direct
  12   infringement.” (Dkt. 19-1, p. 11, lns. 24-25). Again, Defendant is wrong. Playboy has
  13   alleged that Defendant promoted “infringing materials on Imgur and YouTube” that
  14   were “available for download and/or viewing.” FAC ¶ 19. To the extent Boing
  15   Boing’s active promotion of those infringing materials let its viewers to access, view,
  16   and even download the infringing materials (in violation of Playboy’s right to control
  17   the display and distribution of the Works), Happy Mutants caused, 2 and may be held
  18   liable for, that infringement.
  19   ///
  20

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       1
         Under Columbia Pictures Indus., Inc. v. Fung, the four elements to establish
  23
       copyright infringement liability under a theory of inducement are: (1) the distribution
  24   of a device or product, (2) acts of infringement, (3) an object of promoting its use to
       infringe copyright, and (4) causation.” 710 F.3d 1020, 1032 (9th Cir. 2013)
  25
       (emphasis added).
  26   2
         As discussed in the next section, “causation” does not mean causing further
       infringement. Rather, it refers to either inducing or encouraging further infringement
  27
       (the second of which does not necessarily cause any new infringement, but may
  28   simply cause a manifestation of support or appreciation for an existing infringement).
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   1         3. Playboy need not plead that Happy Mutants’s conduct led to further
   2             infringement.
   3         Notwithstanding Playboy’s well-pled allegations, Happy Mutants argues that
   4   Playboy’s case must be dismissed unless it can specifically identify Boing Boing
   5   users who “in fact downloaded—rather than simply viewing—the material in
   6   question.” (Dkt. 19-1, p. 14, lns. 22-23). This argument is based on an erroneous
   7   interpretation of the controlling authority.
   8         As noted above, the Supreme Court has held that “[o]ne infringes
   9   contributorily by intentionally inducing or encouraging direct infringement,”
  10   Grokster, 545 U.S. 913, 914. The argument that contributory infringement only lies
  11   where the defendant’s actions result in further infringement ignores the “or” and
  12   collapses “inducing” and “encouraging” into one thing when they are two distinct
  13   things—to “induce” is to call something forth or bring it into existence; to
  14   “encourage” is to give support or confidence.” They are different words with
  15   different meanings.
  16         When Happy Mutants glowingly celebrated the “wonderful” users who
  17   unlawfully posted Playboy’s copyright-protected images, it may not have induced
  18   that infringement, but it certainly encouraged it. Happy Mutant cannot argue in good
  19   faith that when the Supreme Court wrote “intentionally inducing or encouraging
  20   direct infringement” it really only meant “inducing” direct infringement.
  21         In arguing against giving due meaning to the words chosen by the Supreme
  22   Court, Happy Mutant returns to the Perfect 10 case to argue that “Absent any
  23   identifiable underlying act of direct infringement, Playboy’s secondary infringement
  24   claim must be dismissed. Perfect 10, Inc. v. Amazon.com, Inc., 508 F.3d at 1169”
  25   (Dkt. 19-1, p. 14, at 9:23-24). But Playboy has identified the underlying act of direct
  26   infringement—the unauthorized posting of Playboy’s work on Imgur and YouTube
  27   by the third parties Happy Mutant subsequently celebrated and encouraged. Perfect
  28
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   1   10 simply does not stand for the proposition that the requisite underlying act of
   2   infringement must be acts that followed those of the alleged contributory infringer.
   3         Happy Mutants has not explained how it can rely on Perfect 10 in support of a
   4   legal position which is directly contrary to the holding of that case. If “intentionally
   5   inducing or encouraging direct infringement” requires showing a causal relationship
   6   to further infringements, then the Ninth Circuit’s holding in Perfect 10 was incorrect.
   7   As set forth above, when considering a claim against Google predicated on nothing
   8   more than linking to pre-existing infringing content, the Ninth Circuit confirmed that
   9   a company “can be held contributorily liable if it ‘has actual knowledge that specific
  10   infringing material is available using its system,’ and can ‘take simple measures to
  11   prevent further damage’ to copyrighted works, yet continues to provide access to
  12   infringing works.” Perfect 10, 508 F.3d at 1172 (citations omitted). This holding is
  13   simply inconsistent with Happy Mutant’s claim that knowingly promoting and
  14   encouraging an already-existing infringement is insufficient by itself to establish
  15   contributory liability.
  16         Perfect 10 has been consistently held up over the past decade as the standard
  17   for establishing contributory infringement. And it makes clear that Playboy’s
  18   infringement claim is properly pled. 1
  19         Happy Mutants also relies on Flava Works, Inc. v. Gunter, 689 F.3d 754 (7th
  20   Cir. 2012), a case in which the Seventh Circuit recognized that liability for inducing
  21   infringement under Grokster is “a form of contributory infringement… that
  22   emphasizes intent over consequences. Id. at 758-59. Thus, it held that if the offending
  23   myVidster platform “invited people to post copyrighted videos on the Internet
  24

  25   1
         Happy Mutant’s motion relies heavily on district court cases which are inconsistent
  26   with the holding of Perfect 10, with Tarantino v. Gawker Media LLC (CV 14-603-
       JFW (2014 WL 2434647) being primary among them. However, as set forth in this
  27
       opposition, those district court decisions and Perfect 10 cannot both be correct. Of
  28   course, Perfect 10 is the controlling authority to be followed in this case.
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   1   without authorization or to bookmark them on its website, it would be liable
   2   for inducing infringement.” Id. at 758 (emphasis in original). This holding does not
   3   help Happy Mutants.
   4         Happy Mutants correctly cites Flava Works for the principle that “[i]nternet
   5   users could only commit an act of direct copyright infringement if, once they have
   6   visited or viewed the linked-to content, they take the further step of downloading a
   7   copy of the material.” (Dkt. 19-1, p. 14, lns. 5-7). While it is true that its visitors do
   8   not commit an act of direct infringement by merely viewing the linked-to content,
   9   Happy Mutant then reaches the improper conclusion that Flava Works requires
  10   specific evidence of downloading by the Happy Mutant viewers. Flava Works says
  11   no such thing. To the contrary, it expressly found that the invitation to bookmark
  12   infringing materials on its website would constitute infringing inducement—without
  13   reference to whether any invitees actually accepted that invitation.1 And that is
  14   precisely what Happy Mutant is guilty of—Boing Boing essentially bookmarked the
  15   infringing material in a weblog post and then invited its readers to enjoy that material
  16   by visiting Imgur and YouTube where they could view and download the
  17   infringement.
  18         The Flava Works and Perfect 10 decisions are, of course, further supported by
  19   Grokster, in which the Supreme Court quoted with approval the statement from
  20   Prosser and Keeton on Law of Torts 37 (5th ed. 1984) that “[t]here is a definite
  21   tendency to impose greater responsibility upon a defendant whose conduct was
  22   intended to do harm, or was morally wrong,” (Id. at 936) and explained that “[t]he
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         Flava Works discussion on this point is limited due to an important factual
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       distinction from this case, in which Happy Mutant specifically invited its viewers to
  26   the infringing materials. As the Seventh Circuit noted, “inducing infringement was
       not a ground of the preliminary injunction issued by the district judge in this case and
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       anyway there is no proof that myVidster has issued any such invitations.” 689 F.3d at
  28   759.
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   1   inducement rule… premises liability on purposeful, culpable expression and conduct,
   2   and thus does nothing to compromise legitimate commerce or discourage innovation
   3   having a lawful promise.” Id. at 937.
   4         While Happy Mutants desperately notes that some courts have rejected
   5   secondary liability claims founded solely on the alleged viewing of linked-to
   6   material, those cases are either factually inapposite, or are district court decisions at
   7   odds with the appellate authority cited by Happy Mutant in that very same paragraph
   8   (i.e., Perfect 10 and Flava Works.)—appellate authority that confirms that secondary
   9   liability can indeed lie for linking to infringing content.
  10         Finally, Happy Mutant and the EFF may attempt to argue that Perfect 10 was
  11   wrong and should be changed, but there argument in that regard is weak. From the
  12   perspective of the viewer, there is no real difference between Boing Boing directly
  13   uploading and copying the infringing content or linking to it—either way the viewer
  14   sees the link to the content, clicks on it, and is connected to it. Neither the Copyright
  15   Act nor the courts interpreting it could have intended that a website can intentionally
  16   promote infringing content for profit so long as their links only go to third party sites.
  17   There is simply no public policy justification for such a loophole.
  18         Happy Mutants is wrong that Plaintiff must plead specific facts demonstrating
  19   further infringement—the controlling authorities and relevant policy considerations
  20   compel a rejection of that argument. Therefore, this Court should find that Plaintiff’s
  21   claims are well pled and this motion should be denied.
  22         D.     Boing Boing’s fair use arguments cannot defeat Playboy’s
  23                infringement claim at the pleading stage.
  24         Defendant’s fair use arguments are extremely weak, and are particularly
  25   inappropriate at the motion to dismiss stage. A motion to dismiss under Rule 12(b)(6)
  26   cannot be granted based on an affirmative defense unless that “defense raises no
  27   disputed issues of fact.” Scott v. Kuhlmann, 746 F.2d 1377, 1378 (9th Cir. 1984).
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   1   While in rare instances an assertion of fair use may be decided on a motion to
   2   dismiss, it is generally a mixed question of fact and law that is not properly addressed
   3   at the pleading stage. Leadsinger, Inc. v. BMG Music Publ’g, 512 F.3d 522, 530 (9th
   4   Cir. 2008). In this case, Playboy’s complaint contains substantial factual allegations
   5   that cut against a finding of fair use under the four factors identified in 17 U.S.C. §
   6   107(1)-(4).
   7         The first statutory factor to determine in evaluating fair use is the purpose and
   8   character of the use. Happy Mutant’s stated use—both in the offending post (FAC ¶
   9   14) and in its motion—is to show “how our standards of hotness, and the art of
  10   commercial erotic photography, have changed over time.” But this is precisely in line
  11   with the purpose and character of Playboy’s magazine—it features photographs in its
  12   magazines and special publications (such as the publication including Playboy: The
  13   Compete Centerfolds, 1953-2016) to show how our standards of hotness, and the art
  14   of commercial erotic photography, have changed over time.
  15         The second factor, the nature of copyrighted work, similarly cuts against a
  16   finding of fair use. The copyrighted work is not a single image, but an entire catalog
  17   of highly artistic images. Indeed, in an implicit acknowledgement that this factor cuts
  18   against a finding of fair use Happy Mutant attempts to downplay this factor as “of
  19   limited usefulness.”
  20         Factor three, the amount and substantiality of portion of the original work
  21   used, cuts strongly against a finding of fair use. To the extent that Playboy’s images
  22   could arguably be used fairly in demonstrating “how our standards of hotness, and
  23   the art of commercial erotic photography, have changed over time,” it is clear that
  24   every Playboy Playmate ever need not be reproduced. Had only representative
  25   images from each decade, or perhaps even each year, been taken, this would be a
  26   very different case—but Happy Mutants cannot dispute that it knew it was linking to
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   1   an illegal library of “Every Playboy Playmate Centerfold Ever” since that is what it
   2   titled its blog post.
   3          Similarly, the final factor—the effect on the value of or market for the
   4   copyrighted work—weighs heavily against a finding of fair use. As noted in
   5   Playboy’s complaint, it continues to monetize its historic archive of Playmate
   6   centerfold images through sales of books, magazines and other publications
   7   (including Playboy: The Compete Centerfolds, 1953-2016), DVDs and other
   8   recorded video formats, and on the subscription website PlayboyPlus.com. Given that
   9   people are generally not going to pay for what is freely available, it is disingenuous
  10   of Happy Mutant to claim that promoting the free availability of infringing archives
  11   of Playboy’s work for viewing and downloading is not going to have an adverse
  12   effect on the value or market of that work.
  13          Happy Mutant’s fair use arguments fail.
  14          E.     In the event Playboy’s claims are deemed deficient, leave to amend
  15                 should be granted. In the alternative, dismissal should be without
  16                 prejudice and as to Happy Mutant only.
  17          “Leave to amend ‘shall be freely given when justice so requires,’ … and this
  18   policy is to be applied with extreme liberality.” Morongo Band of Mission Indians v.
  19   Rose, 893 F.2d 1074, 1079 (9th Cir. 1990), quoting Fed. R. Civ. P. 15(a)(2).
  20          While Playboy believes its claim against Happy Mutants to be well pled, it
  21   respectfully requests the opportunity to amend its pleading should the Court find
  22   some deficiency.
  23          Anticipating this, Happy Mutants argues that leave to amend should be denied
  24   since it does not believe Playboy can allege that some of its viewers visited and
  25   downloaded the infringing materials. Setting aside the fact that there is no such
  26   pleading requirement (see infra), this is certainly information that could be obtained
  27   through discovery. Specifically, subpoenas to Imgur and YouTube—which Playboy
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   1   will be seeking leave of this Court to serve promptly—will allow Playboy to not only
   2   determine the identity of the offending posters, but to determine the extent to which
   3   third parties downloaded the infringing content (and permit Playboy to identify them
   4   as well so that they may also be added to this case as additional defendants), and
   5   provide Playboy will the opportunity to determine whether Happy Mutant’s
   6   promotion of the infringing posts resulted in any downloads by its viewers—at which
   7   point Playboy will have further facts supporting its claims.
   8         The Ninth Circuit has held that when the defendants' identities are unknown at
   9   the time the complaint is filed, courts may grant plaintiffs leave to take early
  10   discovery to determine the defendants' identities “unless it is clear that discovery
  11   would not uncover the identities, or that the complaint would be dismissed on other
  12   grounds.” Gillespie v. Civiletti, 629 F.2d 637, 642 (9th Cir. 1980). Prior to the
  13   hearing date of this motion, Playboy will seek such leave.
  14         Not only would it be unjust to grant Happy Mutants’s motion without
  15   permitting Playboy an opportunity to conduct necessary discovery on third parties, it
  16   would embolden those operating online to support and promote sites that harbor
  17   infringing content.
  18         In the event that the Court disagrees with Playboy and believes that dismissal
  19   without leave to amend is prejudice, Playboy respectfully requests that said dismissal
  20   be (1) as to Happy Mutants only so that Playboy can take the appropriate steps to
  21   uncover the identities of the underlying infringers, and (2) without prejudice so that
  22   Playboy may still hold Happy Mutants accountable for its actions if and when it is
  23   able to unearth the necessary additional facts.
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   1   III.   THIS MOTION MUST BE DENIED
   2          Playboy’s infringement claim against Happy Mutant is well grounded under
   3   Perfect 10 and well pled factually. To the extent that additional facts must be pled,
   4   Plaintiff respectfully requests leave to amend, or in the alternative dismissal without
   5   prejudice. The current allegations, however, are sufficient and this motion should be
   6   denied.
   7

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                                                       Respectfully submitted,

   9   Dated: January 25, 2018                  By:    /s/ Stephen M. Doniger
  10
                                                       Stephen M. Doniger, Esq.
                                                       Howard S. Han, Esq.
  11                                                   DONIGER /BURROUGHS
  12                                                   Attorneys for Plaintiff

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